             Case 3:22-cv-05407-RJB           Document 47          Filed 06/04/24   Page 1 of 2




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                                 UNITED STATES DISTRICT COURT
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                                WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
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10
        RICHARD HENRETTA,                                     CASE NO. 3:22-cv-05407-RJB
11
                                Plaintiff,                    ORDER REQUESTING BRIEFING
12              v.
13      ROGER W. ACH, II et al.,
14                              Defendants.

15

16          This matter comes before the Court on Plaintiff's Verified Motion and Proposed Order for

17   Entry of Judgment (Dkt. 45). Review of the Motion raised a number of questions that require

18   responses before the Court can accurately rule on Plaintiff's motion. These questions are listed

19   below, and the Court requests responsive briefing on these issues:

20          1. The requested judgment does not track the Demand for Damages in the Complaint

21   (Dkt. 1 at 17), and the request exceeds the Complaint's Demand. To what extent is the request

22   limited by the Complaint's Demand for damages? Are there other sources in the file that justify

23   Plaintiff's request, or is Plaintiff limited by the Demand?

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     ORDER REQUESTING BRIEFING - 1
             Case 3:22-cv-05407-RJB           Document 47        Filed 06/04/24       Page 2 of 2




 1          2. Does the law allow outrage/intentional infliction of emotional distress damages arising

 2   from a business deal gone bad? Does the case law allow such damages here?

 3          3. Can Plaintiff recover damages for wages lost under a private penalty agreement in

 4   addition to statutory penalties for the same wage loss, or is Plaintiff limited to one source to

 5   avoid duplication of damages?

 6          4. What is the legal foundation for damages for loss of unemployment compensation?

 7          5. What is the legal foundation for damages to Plaintiff for the employer's failure to pay

 8   "employer side" taxes?

 9          6. What is the legal foundation justifying actual attorney's fees and costs in addition to

10   statutory fees and costs? If actual fees are available here, there is no basis for the Court to rule

11   on the actual attorney's fees and costs expended, or their reasonableness.

12          Accordingly, Plaintiff's Motion (Dkt. 45) is hereby continued to June 21, 2024, to allow

13   Plaintiff time to respond to the Court's questions, and to make any further submissions Plaintiff

14   chooses to file.

15          IT IS SO ORDERED.

16          The Clerk is directed to send uncertified copies of this Order to all counsel of record and

17   to any party appearing pro se at said party’s last known address.

18          Dated this 4th day of June, 2024.

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20                                          A
                                            ROBERT J. BRYAN
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                                            United States District Judge
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     ORDER REQUESTING BRIEFING - 2
